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Manda mars; Mozapen Weebly 5 Warhead Dedocss Arwdodln Qedhinss
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te ratte NAGE, Wad Gade TAYLOR , Mauss ; rey Nos

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“ar
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mm. Tuasebrerd

5. Pid quvdnes Yne Vpn hers X Yao Yona
Coamds Ne \netae task Tae te Bate bokters nse Ye 4a L&.c., &
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Larcrdererdes We Mae Usted Mores Cad daken:

bo. Kadi, ‘ys sores quan Wedoo\, quetsew> ts
aendeek eacsund Ye We a Use, SB WA BA BAS, Unie Supderonte
fynsekdgers evan. Qohe \ws Avns 4 Gavdeed essere \e We BW UAL,

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7. PAK, Terese TE Woo atin be dik
‘Sseaiey “Teka CronenaS her, Baik, oo Wes Wee) \ness ®
Cucneek dees Hi Saran Bersasesdir Commie Canker.

4 ee. wd, QO. Bex Beco, Sister, TA® OAM.
B OBembrh, Gerben Segremsn, Come Cora’),
nds te headed us tne Hikers Ne metus Hc Geskan Dysdroste

Teerenk Cramiles, Wad Ye Gendan, D eecen Qo Qatar Sugenaiorers
Emerg, Vues > Commas PANES Ulnass x eh”

V/ Ddrarkw Ne tod; 5 Dednweds; werd Velie Comsemeh nbn erdndeen,
tad Qa, ye slieienopa renee Ne Corse Sve dedy yesb fon Wheess

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A, Dahan, wldhed Cran 7) Ae Nee Wedeedsd
\neiitte Coase great ben, Codvanted \y ne tyssrdousds Degadonerd
S Comedner (4.6.0.7) Ne geanibe EK, fas Were nettle Cpus
No Wee dnuiativs Sake qasosers, Dcdeaduds, Makes wae es &
\outenatss Wehmeess 62 Wo Gredauck Srasek, ube 8a, Wedsonaats,
My. Casas,

Ne. Dhanbad, Temes oo: Thomasson (“Anengste ) Ye Soe
Sore & Nne Gero Dpdrewse Tougeennnied omg Theda,
oemgeen's Cammsrde Wkess Ye ta aeae Ne Wade!

W. DEewdvk, Sed) hadrowrse ( turks) Vas
\nak Nrncue SMATEsS Gi \o Nuaagtne Tord, Suse ak, MleMoonsudy,

3
TAR OWS)

ia Omenskedk, ed Acaddvacs (“Geabdkcon’) Wiest
Commenk, PAGES Unlnen he Adee

& Ye SSrerkidk as ta look ho \neon hed guevenk
DWeawrsk Gamer aera Sos quceents wokes (Eaniok & )
a/ xs.
3f <A.
a/ tA.
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\3. Dead ws , Wasapns Wekady ( wbidy”) a Ye
Diaadoa. c& Merda\gardlty Hh SSL, tabi b Cuomaek
Nout ses PAdGESS ee Wasesspaeth ord, Qo eK Bers, Sows > >.

ale.
“A. adenrden’ ) dmaraddt. Tidrpe ds (“adrode ) %

re Ketek Dieadwa. oF thew hinentte te S:B.0-64, Xe &
Rama business Phases G&: Wemseed Tats, Qo. Bex Bow,
Snidey, Wir OGY.
1S. DSerder, BWyadodda Yedniws (CRerdanuss )
\pese Wak Nae Neuse Pidacss Ki Wesed Berd,
Ro- Bex Boos, Sowwhey, wy esau
ile- ofeakds, DS Wage rage) te ‘one
Gemma. Dredkon Se Wede\\nelte oe SBE, hts ok
Vises WieS> Ehbacss 2 Meas Bord, WO. Bex Sen,
Barwey , We- ovate
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Pleat . VY

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8/
a. cert, Bre de Cree”? 2 Ye
Mazon Badowainask Weta Fea Woe Bo-C. ; Ladin & Gardsoal
Nousmmast Wbdmuess ck: So Vege Seek, Sake 3B, Wea, UE

CANSI~ "MAB

\. Exdn Ver duuss vo Nests aek a \new Ane
Kaew wad cadwibeol/ qsenanl Crepedbncss

NX. Tacks

RO, Wee, Vide % } Nearcggnter: Neen’ «

al. Ake Waves Wahemarh be Sate Boker, Wee! Uist

te pocranceuahed, te Nac Cem tad tdady o& ne D.0-€.

QQ. OMershie Vielen hes Ye Wedcank quencher,
tenance \ey Yee Dot:

a3. Wis. Tides  Onvsekked Ys sofemann Sse
Sewrass ew Wraces (“smc”)

ay, Bo Suns lo, aeie, Sve + quckaun Soemee,
Wo. Mists Waved yh SB. Bed ele EHO \ waned \nedkn
Base. Crier Qnemcioher, Sve adie).

as, Dueeteag, “ne Case 15, 20th, vedo usttn Swe Geteaca
Wes Wise Whee’ re Grabias, the When gunk, Nabe Wes Tis be
+ Nesetoggaker, Morea, ted as nesd & Yassin.

a/ 3A.
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By, Deady Redes tee Nesocopesst ver Mee
Wedd nalts Cosmeey Come Ore (“R0.0.”),
a". Plans Deperrall vhek Win aed, Qeanws,
Reo hegemrey Pepered We BHewsr Qanvins Ns We. vides % &
Nesesagades. lower, th tu week & \acdnaenk.
ag. Ragérarate ho WE DLC. OSA “Th we Mr why
& Roe. pec] Ye Veqnnqiiey Mra, Yeerk, ted Wranag
MUS Ute Qader Sys Poon wee Td nee guentie Waequde
MEME pad tread natty Sgentes Ye A Joma ae be
tedely. ”
an. Rensumar Se \SS BHC. 653 eas Whe Qeae
Sens Gevdes Datel Cased Sagemrsier Gasog (Sur.e-s& )
Ye de Qo Ente career: bob Speuin 52M Nresaruag be mewn
\neattn VlCe oe. WS vey helen Geshen DpeQnewsNe Relwrek
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DyoQresAy 2

30. Raatoumdk, be WE BEL, HSA. OS b ae Wrest
grok, Nee REC Bat “ewade Noe Gdke be Mdeamine adie,
Nee HWE WEES re Oaatal Gubjecih Soe k Qussstersh) Suvaqass>
& Gewken Dypagrerde. “Tne Sangeeta Samt\\oc \awsed, we wk, ven
Sec de Gce erladrers ch Woe teemhe bab heme of fre tebval
teak rere nena \wesey, be DAL te Goemerk welul Mead
Yes anaes wa.
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3, DHadews Codes deve Exludred We Tiss
Some. Wns pesgese & Loder, Qhadhexe MS Tos vecke Noe
Cwuted Gaoetn See bh Rani Beanseenes,

aa, Sheard, Redes weaned Aik Mr
OKenters, Gdns Woes SB Book % qeswApeh Ansquasttt, be
aaduates, ow nc Quack Coden Sen Geodon Dysdrooin

33, He pe Mus quien be See wey O\, Bory WA
Gestes Q&DG,, Mehetts co rouge Seared DeSerdenke Gdns
lea Sc beer & Geatow Sper

34, Recruese SSesbr ee GDB, Maen Lad Treugion
Saded ke epdey whew were hy \erie wou agemnce
Dedede Cease, We Ties Wise Hever euhued, tab devex
Reawed eRe Sitanense ley BHendturs Tae.

35, Pca Oheaude Gdns, MWh \oeaues
Ye wedk ita Dheaknds Ywage-

a. OSeabwoe \heges. sporerenvels Annw7wk York
DSearwk wages. WS da Sanne S were\\redltr & SBLC, dad
 Mertoen. & Ye genbo Comes, Rod Vans Veestedaiite ened
OSeaiwk Cedree. Yea ogebes dey witeen, Has Nous,
\othen. toed Coe Q\paekss Needs.

a, DSerdkeds Nog eae Me Se Quad wok
Quarks gerbe Cormnah, Grange, toh, Wade Wsiakedmds dak
Waves Yeon we cg Cyst, Qype Wwoered BSEawor Neages

quedent-
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x. Ore Tyarumay 4, 2001 We. Te ie evhune’
y Wea dw ko QO.G., Wares. Caosrey Wad Nrmagiony, esa
hegucninnrey orse Neu

nA, “Eps Roe Nemenageten. Commo, Nqneme exichs
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me Wee hog S Leder egaeith [CoSromice bene Une be tne

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DEeabedhs GG; poder, Geer woh Trowgce Wied Wer er >
dodke & qed Work Caused Yer Tas Na Sed Gace,
eds Ve Wes. Nii ttt Noe Seeling Henk Deaswehs QD.
paar de, Canney Yad Woongen (bere \edteos Sos: b way We hey We.
Was Awana, Son Ve Was Se Nae Se Nad We Sos,

A, Ses Coupee S Noes. Yeserion & ect
Moris, Yer Wits Sdontheh Ne Tlewtadys GAG, pabeade, Gumrey
bead Nrerigions See Wadtakes Seon Sowdy Wertrens Wt Sexes,
eed Rodegee der & Ver iss goion Ne Wad. AesCRZEors,

a, Modersegueend, Ne Soe Senay W) aor Eunos,
Dderkade GPG, pobedde; Teayes had Raney Meare Wess Sadek
ingens & Geplen Dyegoswu ) SS el yo Maem Relies, We. Widen
Dano, ome Kes, Weng peers densers » beh DAewdtwady QP.GS,
TTrengaeris, Waberdes, tab Graves Sve \ockch \yods Wee
LAS Seseqeony = “amg SB Gerben Speers Sera. . Seeocdany
oe wa Ye tanvdinn® eg RAs Nae Notch, ta Wes Nate endo
Ceeihen qeetacnsivorte Qneacia Shere (Sereno Guess \we oe Sot” ),

- Qe
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43, OSewerdeo Bde. J Creager, Wate y Cossarey
Wid Neng. Wade ug Nn Sse yes wwe & Nye Geccobtey Gas
re Say Vosoig * Ade Nechelhfal, Bak Nae lege be Cslbe
Nene GX. \y Qeeseg wa Wer tdss Welw Ries, bab Nalion dhe
nen.
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Gerben Dpgreai, We TBF wre atk Waach Se gundorse rmadslor.
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Tegel Awe yrds \y ‘wee, qe queeds Vadose Ye Shoe
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ul, Datemdwks GB-G., belerdks ted Nesagiens hapent
Seumred Mer Ties & Sevan c& Geshe Dysreuib.
4S. FYoan Same Wb, date, “ee Woe. Sting & See Candin

tra ‘nes Neder, en ido \owse orssrdady Tends Sethian tay
Mandeincd Barr Moe. Vide © > Nemecgton, ~whoeras
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nighy usin Aire ees
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on \yese & Comnectes Warns * dgnice. shen y ;
be AMmcd ts gerdkor V& Soper, 4, York Seas
Gaon Ye Garenes "53K, Nerstapach dr \xads, vida
om, Withek & Meauenis & gevten, Asda ox
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win wees Ns Conenciorsty hess, Cindy,
pease clupdaon’ ekeats bead Qeesen
prsganly Yar & Commidtenk uslte kne gasscrenls
qentes. aety; Gi) ‘Seuadned \oy we Shee. &
Yne See Gentes. dey & Yo Sewadn Vawees
be teams Ye wuts Wh Ava ox WOWAES &

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S\.

Visas, wage dktaons & Ye bay Cuady aa culty
gemidch, eserer, Wood Yne Keen's cpodcr.
hedty Dodie Ceasmyenk, witty Ye Qusensns
meq; bab gneribed Gadtver, Book adn Seven
Son was se Caahuded Sue tne “dhe qangce of
Preomeninay geod Sus; wed Gu) \neased oo

we Condon Needy Latte Wes Lidia boc
Sescse gender. dey; Quenided Susnce,, Wes Src
dwearen’ Sadie Cosdterk Ue Wee gussonews
segue, unos ne Commstotasen, Ye Boewdk
ow Betigues Se Yoc Commsstonsea ax Sncarkl
teataes ada ss Swe gee Queweds
walk wk ensued Woe qasrensaals Nero on Sey
ex. York Yn€ Quen ead guasedk veevagnedy
ese. *setsndy quadeus?

Reh Nase Regal Repadred /dewateh Ned

Yee Dee Candy volte BBaw Nesenen, \eecpacse & Yc “a-G. Nae

>A. Naver vegerrelly Dred Wak WE. Tes Terk ag Nesp

SQ.

Sen ageher

Maenad\nalin,
es Tikes Yes vegededly Trespetveh \en lee exued

Pree Sunsets, ‘ok Duk Noyes wena \pcen

enNunred “aye Name gery Sar he |endusiene

s3, Dea Pradn WS, a0 BMedlerks God.G,, bed

“Rina Rewopined tea Otnee, ys Lylhetonta, Qeciacest> Ye

Mee, Wins & Xe psinkoi> & eaten, Serre, Ud aadk exthateos te tes,

—_ \an-
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‘nee eset cs Woe B5\y Secersbnay Qin lic, (Ednde © 9

54, “we Mersss &% ggndes. Syogreem Sequense \e
Nie, Tiers Comtaued tolnak Sasa dave, ude vod wen Noe We
Se Noe Sting & Ye. Condon ws Yas Mars.

Ss. DAXeadlek TWorebs ur Neo \eescqssk yo

Wess OC,

5b. why S Wan Nesing, Snead \e Sheng om
SWE. Dead h Redheads tre Suggucd be Mek tate Chadkh heck
Que, Ren wealh:

Ss", Derk Mirdorales tek Eo Ve. Tse Gace eu
Aare | & We. Wiese Wi \udvy

S. Ende We Dekeadbudk, Bdhrads wel ko We. Wes
DMewkwd Tdneade eolk Wire ve Sku eo be ey Derek
Fane Wied Ye week da We Tass ence wee ineelh.

sq, Buln lane Meo Widas tek, lly Delenadiads Biddy,
Amd Gels Sear Dolcrkuad, Bidooehs Yadk Meds 6 &
ewsaseien. Were iss neck & \Yaernants ) bed Gide \o se evtunied
See & Atancers & aenhea ei. We. Wdo> Dee awe Ddewkus

S y ~ Y
Brdnps Coy & BALK, Wah Wred Delenduk Bdiads he Wve
Nine Done. Condy vatty Bah Se Yok We. Ths Gadd Saxuize.

(90. Dalsndrar Bdmete WA We. Des Wk Ye Tiss
tteuld \be Wesker, Lally DKeadleds Hadmakes lees, Dleobrek Wetody, uh
to & Mertccn KH Delsobeds GDL.

&\. Ddeubrck Badorads Gaadtren WA’ We. Wades Sk

- \S7
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Delewdiud Banrede Gadd lah whe, Wad rs Gee S Nos SBaK
Melen-

ba. bss Say Q\, 28aa, Dheriwe Bohs bed Webadly
Wak wih He Ties Soe bagexinnely owe rene, Aeming Sadn hue
‘odin DEerberk tebaly we Dehenrkes ahreads WA ver Tiss
Work Wee. Vides ill Theazive \nen Singers & qpeies Ayopresite ;
wd Yok ih \e \red ve geben, WE CeeFacang:

63. Doh exainsed rate Wee ro wr geben
as? Corteanssna, louk Neen; wid Delerdva Webidy Sats
qenten. pe Cooma, ye Nad Ne 3.6.0. Oesokes exew holy Wao
te Ymsecaekes: .

4. Gender Sysprenit ead Ceskee NaC Sesentes, ae

6S. We Que) Cae Ure Sees Shen Gender
SSH yo Gerber te Conanng { bo imran vient, Wis inapserat
pad Shigds ove Ye Woe woke & weenie:

bb. Dusty ns Taly 2h, 9882 Medaug, We: Wades
Wel Odlowdiads Webel, Dehewdnas WeGoly todk ops Se
Doc. Mp Comgy Uiln BBab, Se Yards We. Tides Coal, one eee
Wale Up ted lowes, tek Seeanize eee, bod Delewbsar’ Matar
ges Delenduads Didhrzre laa Swed Novy tans, be be guadion hesd

Gi. Go Say al, acaa, Sloe wedtig dn We Wiss,

/
Deeds Medic bnousk + veh NSE Ried We. Whe ts Seeing

m“-
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Syoprow A « (EAs D)

o.. Wk de Mais, Wdeo Nec Jet Doser Re eNaen,
Las Ves ike exnee extatel.

6, He we Sie, odlaneced Sy MH, 82 yaad We
Nahveg & we Cenglnis des Rais hake, XX DeAewerks Q.d.G.  Nosergsers
PakeNe CB ered rea on Seserey even. Meek, tn We. Wass.

“b. Whe Swe yy Q\, aoa wecking, Deakin,

Vidvad> Negus Se DWaedtaadl, tard We. Tiss.

\, adhe Devesdeat WAnwads “ye whe
Rad, DSewduase BMademwds woah We dss Yow Od Seckes
Gd. Thengser; bebonds bob Lewddwa Lesich Wes Ws }
Mapes a pis yet ie, ue Ye Wein. 9-Gl.

"2. Acc Ml acd Dhenduk Bodnwad> Sou ‘ne
mass & W gens bs ‘oe genkes. Aysdresce Ceradeox , “os Weak
Codd. DURES Wwe MER Ra Coad Vad Deieaktads Mahueks ‘oyd
Sne ony \peens Shaki reagse head Webaly ) \pk ‘anv
DSewierd, Bodopeds ded cs QWuahdk Nos Hed & Me Dewees:

3. yeas Wren Weela werk \ey tte Bhonkwds
mydnsatt> Megerrel SeXy We XS > Nor DAcudkedk, Malnsds
Lapse Usd] Np Gahan Nas Weed.

1H. Deaton, adwords Ws Wer ddies Nk
DKerdeds, Tidhpads cas Ws ws be awe Wer Tides Ye tee &
Nre geben. Ren Cradles Hersend, bab Nad %& We. Ties wide
Noe Wes We Sue, Nok Ve Tes Cold ys Saas, Ye DO wok Weaken,

awAS-
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Vek Mads DAeshud, Wonks Wel ws vis. Tos was be Suc.
1S. whee We Vides adiamel Dhol Bidmed
Nor Mruodsk Say wWrenke \e cp Sesame wits Hie Bnew ba Gusk,
Derik, Tdmaks odhch War diners, So WS Noein
wagers heh Tucumds Gill se hele Noy Naess
ee Mee Wis Hegededly Tewdred ck Ys Dhewderk
Veboly seeing Se Adare Ye Wracs o& Nac gendcn Yytren sEeAR
ead \ Sey & Yne Aisne dee, \e de bend
TL. Ve, Vdc aed + Se ae Seeing
Ye dendy & ne center. freed Commies Mewsens, tad
Deleakuch, lags Hk We Meds: bob codeyees elede)
Ulta Yne theres Seot MWe Tics, (Favre 1)
6. We. Wiss Gch nc RE Sexes *sedlnng be
Ada Were abies Hezsels gerne Se peter. Poesy brads
DeVenkusys Vlelietts hud de engeyees, widuhiny Belerdndse
vetanly Wad Bedale alecked he WA Awe Wecaks Sear WETes,
“4 Wea. Vides \ecaaeks Se Adm tend Sequel
Nuc he Yne Garcaked bad qodenagd Lean, db Acsepsts hod
Nee tent Nak Go auer 2,68 Hs Tks diced Wren ten Sie’
Vanes tn , erzem, te be Weng Ye \na nese.
Be. aris. Was Sawer peusss ‘ep ex, Repeal
Grswed ts Wesel yak Wwe ce Youn, Yones eed tad Weck Ge Bre
de eon, pod Paws “. Ce Scere “Seded urn Mace:

“New
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a. Ves Wider une ek te nex Cell Sac hegnetncly
Cave Atye wader Snese Conbikents otnouk, my Pedal, ce. tea)
\rerltes Yenc.
ga. sk une ody hue Ne Musk Newbing we axl
Seokiny Seger Ne Wren Genikians Yak Wes Us exteine’” \y
reba nk, ead Pedeqnad> ene When & We Wks.
B23. Even ew We: Udo ets \nentelt Daher dwt
Pidmwds, Mea dsks PLAC. Cons mud Ne Quctty Wo Wo
BW. Dreruk Bdrodss SS ay op eg Wh. Ve
wd Yeahny, Odwen a, aR.
gs. DSeasdeahes QQ, Welln, Coargisns pelos )
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